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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


LEONDRA TAYLOR,                                      Civil Action No.

     Plaintiff,

v.                                                   JURY TRIAL DEMANDED


DELTA AIR LINES, INC.,

     Defendant.


                         COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Leondra Taylor (“Plaintiff” or “Ms. Taylor”), by

and through undersigned counsel, and files this Complaint pursuant to Title VII of

the Civil Rights Act of 1964, as amended (“Title VII”), and Section 1981 of the

Civil Rights Act of 1866, 42 U.S.C. § 1981 (“Section 1981”) against Defendant

Delta Air Lines, Inc. (“Defendant” or “Delta”) and shows the Court as follows:

                           NATURE OF COMPLAINT

                                            1.

        Plaintiff brings this action to recover damages for Defendant’s violation of

her rights and for Defendant’s unlawful retaliation under Title VII of the Civil
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Rights Act of 1964, 42 U.S.C. § 2000e, et. seq (“Title VII”) and Section 1981 of

the Civil Rights Act of 1866, 42 U.S.C. § 1981 (“Section 1981”).

                           JURISDICTION AND VENUE

                                                2.

      Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. §§ 1331

and 1343(a)(4) and 42 U.S.C. § 2000e-5(f).

                                                3.

      Defendant is subject to specific jurisdiction in this Court over the claims

asserted in this action. In addition, the acts and omissions that give rise to

Plaintiff’s claims occurred in this District. Accordingly, venue in this Court is

proper pursuant to 29 U.S.C. §1391 and 42 U.S.C. §2000(e)-5(f).

                                       PARTIES

                                                4.

      Plaintiff is an African American citizen of the United States of America and

is subject to the jurisdiction of this Court.

                                                5.

      Defendant is qualified and licensed to do business in Georgia, and at all

times material hereto has conducted business within this District.




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                                             6.

      Defendant may be served with process by delivering a copy of the summons

and complaint to its registered agent, Corporation Service Company, 2 Sun Court,

Suite 400, Peachtree Corners, GA 30092.

                     ADMINISTRATIVE PROCEDURES

                                             7.

      Plaintiff timely filed charges of discrimination against Defendant with the

Equal Employment Opportunity Commission (“EEOC”).

                                             8.

      Upon Plaintiff’s request, the EEOC issued Plaintiff a Notice of Right to Sue

on May 11, 2022, with respect to Plaintiff’s EEOC Charges, entitling an action to

be commenced within ninety (90) days of receipt of the notices.

                                             9.

      This action has been timely commenced.

                          FACTUAL ALLEGATIONS

                                             10.

       Defendant is now, and at all times relevant hereto, has been an employer

subject to Title VII and Section 1981.




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                                            11.

      Plaintiff is an African American woman.

                                            12.

      Plaintiff worked as a Flight Attendant for Northwest Airlines before it

merged with Delta in 2008/2009.

                                            13.

      In or about early November 2020, Base Manager Ms. Anna C. Perry and

Human Resource Manager Ms. Janelle Gaines contacted Plaintiff Ms. Leondra

Taylor concerning a Facebook post made by a fellow Flight Attendant, Ms. Vivian

Nguyen.

                                            14.

      Ms. Nguyen’s post, made over a month prior to Ms. Taylor’s conversation

with Ms. Perry and Ms. Gaines, included a photograph of Former First Lady

Michelle Obama next to a photo of a monkey dressed in similar clothes, and had

the caption “His escape from pregnancy…”. Ms. Nguyen included a message,

“Yeah haha” with a crying laughing emoji.

                                            15.

      Ms. Taylor confirmed that she had seen the Facebook post.




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                                             16.

       This post had racial implications that offended Ms. Taylor.

                                             17.

       Defendant deemed Ms. Nguyen to have violated its Social Media Policy for

her race related post, but only terminated her employment after alleging that she

also violated other company policies.

                                             18.

       After Ms. Taylor confirmed seeing the racially related post on Ms. Nguyen’s

Facebook page, Ms. Nguyen submitted to Defendant a screenshot of a Facebook

post that she alleged came from Ms. Taylor’s Facebook timeline.

                                             19.

       In the screenshots, Ms. Taylor was alleged to have enthusiastically

announced that Ms. Nguyen was terminated.

                                             20.

       Ms. Taylor denied having knowledge of the post.

                                             21.

       Defendant was unable to find the post on Ms. Taylor’s Facebook page. Ms.

Taylor was also unable to find any record of it on her timeline, trash, or recent

activity.


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                                              22.

      Despite the posts seemingly not to have come from her account, Ms. Taylor

reported fraudulent activity to Facebook, in case her account had been hacked.

                                              23.

      Unlike Ms. Nguyen’s post, the alleged post celebrating Ms. Nguyen’s

termination was never proven to have been seen on Ms. Taylor’s timeline by

anyone other than Ms. Nguyen.

                                              24.

      While looking through Ms. Taylor’s Facebook posts, Defendant came across

some political posts that it deemed to be in violation of its Social Media Policy.

                                              25.

      On or about January 6, 2021, Ms. Perry and Ms. Gaines met with Ms.

Taylor, along with Manager of Corporate Security Operations Mark Lucas, via

Zoom.

                                              26.

      The post was a cartoon image of Trump and now President Biden during a

debate. Photoshopped over Trump is a Ku Klux Klan hood, and the moderator is

saying to him, “Thank you Mr. President, for wearing your mask.”




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                                             27.

      Defendant told Ms. Taylor that it does not tolerate disrespectful, hateful, or

discriminatory posts.

                                             28.

      Ms. Taylor’s posts were political statements, but they were not hateful or

discriminatory.

                                             29.

`     In fact, her post was quite the opposite. It simultaneously made a statement

about Trump’s denial of the need for COVID protective measures, and that racial

discrimination against African Americans was a systemic issue starting at the top,

with the then president.

                                             30.

      Ms. Taylor admitted to posting the image to Facebook.

                                             31.

      Defendant told Ms. Taylor that her posts were not acceptable, and that it was

important that she continue to contact Facebook about the post celebrating Ms.

Nguyen’s termination.




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                                               32.

      To be clear, Defendant told Ms. Taylor that it was very important that she

provide evidence of absence, or the non-existence of a post on her timeline. The

fact that Defendant’s own investigation failed to show that the post ever appeared

on Ms. Taylor’s page was not sufficient.

                                               33.

      On or about February 2, 2021, Ms. Taylor was notified of Defendant’s

decision to suspend her employment. When Ms. Taylor attempted to show that

Caucasian employees were not being investigated or, if investigated, were not

being terminated, Rita Saitgazina, General Manager of IFS Field Operations

Southeast Region, told her that they were not interested in gathering information

from her. Rather, they were merely handing her the suspension paperwork.

                                               34.

      On April 13, 2021, EO Manager Annelyse Sanders stated that Ms. Taylor’s

political posts were racially motivated. This was provided as a reason for Ms.

Taylor’s termination.

                                               35.

      The In-flight Conflict Resolution Panel (CRP) has full authority to reverse

whatever decision Defendant makes regarding termination. However, when the


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CRP requested Ms. Taylor’s file, they were told that they would not provide it

because she was terminated for a race-related reason.

                                              36.

        When Ms. Taylor informed Ms. Sanders that Human Resources was

preventing her from appealing her termination to the CRP, Ms. Sanders first told

her that CRP could not assist her because her termination was related to

Defendant’s Social Media Policy.

                                              37.

        Ms. Sanders then corrected herself and told Ms. Taylor that Social Media “in

it of itself is not an exclusion from CRP. All questions relating to eligibility

requirements for In-Flight CRP, should be directed to the CRP Gatekeepers.”

                                              38.

        Brenda McAden, the Conflict Resolution Panel Gatekeeper, went back to

Human Resources, but again was told that they would not give her Ms. Taylor’s

file.

                                              39.

        Ms. McAden also explained that she did not believe Ms. Taylor’s post to be

race related, and that had it not been for the implication of “racism,” Ms. Taylor’s

termination could have been overturned by CRP.


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                                              40.

      Moreover, Ms. McAden assured Ms. Taylor that her termination would have

been overturned because of her stellar work record.

                                              41.

      Defendant’s non-African American employees were not subject to such

harsh punishments.

                                              42.

      For example, in June 2020, a Caucasian woman named Kevin Lee Jennings

was terminated for racially motivated posts on Twitter. She had been posting racial

sentiments for a while, complaints had been made, her posts were openly discussed

among employees, but she was only terminated once the media became involved.

                                              43.

      On January 13, 2021, a Caucasian Delta employee posted a question to the

Delta portal, “What is DELTA’s stance on employees participating in last weeks

[sic] riot in DCA? There are photos circulating on social media.” The employee

included a photo of another employee at the capitol riot. A Caucasian flight

attendant, Susan Karr, responded, “It wasn’t a riot . . . until Antifa showed up, it

was peaceful protest which is every American right to do so.” Upon information

and belief, neither the Caucasian Delta employee nor Ms. Karr were terminated.


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                                            44.

      Also in January 2021, Cyndee Emmer, a Caucasian woman, posted to

Facebook a meme, comparing the Confederate flag, a swastika, and Trump’s

“Make America Great Again” hat. The Confederate flag was described as a “19th

Century symbol of hatred and bigotry”, the swastika was the “20th Century symbol

of hatred and bigotry” and the Trump hat was the “21st Century symbol of hatred

and bigotry.” Upon information and belief, Ms. Emmer was not terminated.

                                            45.

      In July 2021, after Defendant added political posts to the types of posts

banned by its Social Media Policy, Caucasian employee Starr Collette posted an

image with the words, “No country can survive being ruled by people who hate it –

Tucker Carlson” and “Repost if you agree with Tucker Carlson”. Around the text

were images of Latina congresswoman Alexandria Ocasio-Cortez, openly gay

Secretary of Transportation Pete Buttigieg, Muslim congresswoman Ilhan Omar,

Palestinian congresswoman Rashida Tlaib, and Jewish senator Bernie Sanders.

Upon information and belief, Ms. Collette was not terminated.

                                            46.

      Flight Attendant Starr Collette (Collette Perrella) also posted an image of

African American boys being hosed down by the police with water from a fire


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hose. She included the caption, “THIS WILL WORK!” Other employees

complained and reported the post to Defendant. She was allowed to take down the

post and was not terminated.

                                             47.

      Ms. Taylor also knew that when African American employees were

managed by African American managers, the punishments were less severe.

                                             48.

      For example, when African American employee Wendy Summerlin was

reported for racially related posts, she told her African American managers of

white employees who had all also made racially related posts. Her managers were

African American and they simply told her to go back to work.

                                             49.

      Robert Levine is one of the white employees that Ms. Summerlin named to

management because there had been complaints about his racist posts. As a Purser,

his qualification would have been the first thing he would have lost when placed

on probation. Therefore, Ms. Taylor believes he too was never disciplined.




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                               CLAIMS FOR RELIEF

           COUNT I: RACE DISCRIMINATION VIOLATION OF
             TITLE VII OF THE CIVIL RIGHTS ACT OF 1964


                                                    50.

       Plaintiff reincorpoates by reference paragraphs 10-49 of this Complaint by

this reference as if fully set forth herein.

                                                    51.

       Defendant’s actions in subjecting Plaintiff to ongoing race discrimination

constitute unlawful discrimination on the basis of Plaintiff’s race (African

American) in violation of Title VII.

                                                    52.

       Defendant discriminated against Plaintiff because of her race willfully,

wantonly, and in reckless disregard of Plaintiff’s federally protected rights, and its

discrimination against Plaintiff was undertaken in bad faith.

                                                    53.

       The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity, and to otherwise adversely affect her status as

an employee because of her race.




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                                               54.

      As a direct and proximate result of Defendant’s violation of Title VII,

Plaintiff has been made the victim of acts that have adversely affected her

psychological and physical well-being.

                                               55.

      Accordingly, Defendant is liable for the damages Plaintiff has sustained as a

result of Defendant’s unlawful discrimination and retaliation.

   COUNT II: RETALIATION IN VIOLATION OF TITLE VII OF THE
            CIVIL RIGHTS ACT OF 1964, AS AMENDED

                                               56.

      Plaintiff re-alleges paragraphs 10-49 as if set forth fully herein.

                                               57.

      Plaintiff engaged in protected activity under Title VII.

                                               58.

      Defendant subjected Plaintiff to adverse employment action (to wit,

terminating Plaintiff’s employment) because Plaintiff engaged in protected

conduct. The adverse action to which Plaintiff was subjected would dissuade a

reasonable employee from making or supporting a charge of discrimination.




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                                                 59.

        There was a causal connection between the protected conduct and the

adverse action.

                                                 60.

        As a direct and proximate result of Defendant’s violations, Plaintiff has

suffered economic and non-pecuniary damages.

                                                 61.

        Defendant willfully and wantonly disregarded Plaintiff’s rights, and its

actions toward Plaintiff were undertaken in bad faith.

                                                 62.

        Plaintiff is entitled to punitive damages, lost wages and benefits,

compensatory damages, attorneys’ fees and costs, prejudgment interest,

reinstatement or front pay in lieu thereof, and any other relief available under the

law.

                  COUNT III: VIOLATION OF 42 U.S.C. § 1981

                                             63.

        Plaintiff re-alleges paragraphs 10-49 as if set forth fully herein.




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                                           64.

      Defendant subjected Ms. Taylor to discrimination on the basis of her race

(African American).

                                           65.

      Defendant intentionally discriminated against Plaintiff, on the basis of

Plaintiff’s race/color, in violation of 42 U.S.C. § 1981.

                                           66.

      Defendant violated Plaintiff’s rights under 42 U.S.C. § 1981 by not hiring

Plaintiff because of his race/color.

                                           67.

      Defendant treated Plaintiff differently than at least one other employee

outside of Plaintiff’s protected class. Any alleged non-discriminatory reason given

by Defendant for treating Plaintiff differently than another employee outside of

Plaintiff’s protected race class is pretext for unlawful discrimination.

                                           68.

      Defendant's actions in subjecting Ms. Taylor to different terms and

conditions of employment constitutes unlawful discrimination on the basis of race

in violation of 42 U.S.C. section 1981.




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                                         69.

      The effect of the conduct was to deprive Ms. Taylor of economic

opportunities, and otherwise adversely effect Ms. Taylor's status as an employee,

because of her race.

                                         70.

      As a direct and proximate result of Defendant’s actions and omissions,

Plaintiff has suffered damages, including lost wages, emotional distress,

humiliation and other indignities

                                         71.

      As a direct and proximate result of Defendant's unlawful employment

practices, Ms. Taylor has been embarrassed, humiliated and has suffered damage

to her emotional health, and has lost back pay and front pay.

                                         72.

      The acts and omissions of Defendant were willful, malicious and in reckless

disregard of Plaintiff federally protected rights entitling Plaintiff to punitive

damages.

                                         73.

      Defendant has willfully and wantonly disregarded Ms. Taylor's rights, and

Defendant's discrimination against Ms. Taylor was undertaken in bad faith.


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                                           74.

      Defendant chose not to take appropriate remedial steps to prevent or correct

the discrimination.

     COUNT IV: RETALIATION IN VIOLATION OF 42 U.S.C. §1981

                                           75.

      Plaintiff re-alleges paragraphs 10-49 as if set forth fully herein.

                                           76.

      Plaintiff is African American. Plaintiff had an employment agreement with

Defendant within the meaning of 42 U.S.C. § 1981, under which, inter alia,

Plaintiff worked for Defendant, and Defendant compensated Plaintiff for work.

                                           77.

      Plaintiff performed her contractual obligations.

                                           78.

      Defendant violated Plaintiff's rights under 42 U.S.C. § 1981.

                                           79.

      Plaintiff is a member of a protected class.

                                           80.

      Plaintiff’s complaints and opposition to racist conduct constitute protected

activity under 42 U.S.C. § 1981.


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                                           81.

        Defendant subjected Plaintiff to adverse action (to wit, termination) because

of her protected conduct. The adverse action to which Plaintiff was subjected

would dissuade a reasonable employee from making or supporting a charge of

discrimination.

                                           82.

        There was a causal connection between the protected conduct and the

adverse action of termination.

                                           83.

        As a direct and proximate result of Defendant’s violations, Plaintiff has

suffered economic and non-pecuniary damages.

                                           84.

        Defendant willfully and wantonly disregarded Plaintiff’s rights, and its

actions toward Plaintiff were undertaken in bad faith.

                                           85.

        Plaintiff is entitled to punitive damages, lost wages and benefits,

compensatory damages, attorneys’ fees and costs, prejudgment interest,

reinstatement or front pay in lieu thereof, and any other relief available under the

law.


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                           PRAYER FOR RELIEF

 WHEREFORE, Plaintiff respectfully requests that this Court:

 (a)   General damages for mental and emotional suffering caused by

       Defendant’s misconduct;

 (b)   Special damages for lost wages;

 (c)   Punitive   damages      based      on   Defendant’s   willful,   malicious,

       intentional, and deliberate acts;

 (d)   Reasonable attorney’s fees and expenses of litigation;

 (e)   Trial by jury as to all issues;

 (f)   Prejudgment interest at the rate allowed by law;

 (g)   Declaratory relief to the effect that Defendant has violated Plaintiff’s

       statutory rights;

 (h)   Injunctive relief of reinstatement, or front pay in lieu thereof, and

       prohibiting Defendant from further unlawful conduct of the type

       described herein; and

 (i)   All other relief to which she may be entitled.



                      [Signature on following page]




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     Respectfully submitted the 8th day of August 2022.

                                           BARRETT & FARAHANY

                                           /s/ Catherine Gavrilidis
                                           Catherine Gavrilidis
                                           Georgia Bar No. 565343
                                           John E. Tomlinson
                                           Pro Hac Vice Application
                                           Forthcoming

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